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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF MISSOURI
                                         EASTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
               Plaintiff,                          )
                                                   )      No. 4:18 CR 213 JAR / DDN
          v.                                       )      No. 4:18 CR 271 JAR / DDN
                                                   )
SLAVEN NEDIC,                                      )
                                                   )
               Defendant.                          )

                                           DETENTION ORDER
        On April 10, 2020, defendant SLAVEN NEDIC came before the court with counsel reliable electronic
means for a detention hearing in the above-styled cases, under the Bail Reform Act of 1986, 18 U.S.C. § 3142.
        During these proceedings, defendant with the advice of counsel orally and voluntarily waived his right
to a detention hearing knowing that a detention order would be issued based upon the bail report of the Pretrial
Services Office recommending detention (No. 4:18 CR 213, Doc. 6), and knowing that this detention order will
be reconsidered upon motion of the defendant.
        Upon this record, the Court finds that, based on the record and the factors set forth in 18 U.S.C. §
3142(g), there is no condition or combination of conditions of release that will reasonably assure that defendant
will not flee or pose a danger to the community. 18 U.S.C. § 3148(b)(1).
        Thereupon, in both above-styled actions,
        IT IS HEREBY ORDERED that the motion of the government for the pretrial detention of defendant
SLAVEN NEDIC is sustained. Defendant is committed to the custody of the United States Marshals Service
until further order. This detention order will be reconsidered upon motion of the defendant.
        IT IS FURTHER ORDERED that defendant be confined in a corrections facility, separate, to the
extent practicable, from persons awaiting or serving sentences, or being held in custody pending appeal.
Defendant must be allowed reasonable opportunity for consultation with counsel.
        IT IS FURTHER ORDERED that on order of a Court of the United States or on request of an
attorney for the United States, the person in charge of the corrections facility in which defendant is confined
must deliver defendant to a United States Marshal for the purpose of an appearance in connection with a court
proceeding.


                                                         /S/ David D. Noce
                                                   UNITED STATES MAGISTRATE JUDGE
Signed on April 10, 2020.
